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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                                   NOTICE OF INTENT TO
                                                            REQUEST JUDICIAL
        - against -                                         REMOVAL

 FARUQ KHALIL MUHAMMAD ‘ISA,                                11 CR 819 (S-1) (RRM)
   also known as
   “Faruk Khalil Muhammad ‘Isa”
   “Sayfildin Tahir Sharif” and
   “Tahir Sharif Sayfildin”

                         Defendant.

 – – – – – – – – – – – – – – – – – –X


       NOTICE IS HEREBY GIVEN TO FARUQ KHALIL MUHAMMAD ‘ISA (“the

defendant”) and to his attorneys of record herein, Samuel Jacobson, Esq., Mildred Whalen,

Esq., and Sabrina Shroff, Esq., that upon conviction of the defendant for violation of 18 U.S.C.

§ 2332(b)(2), the United States of America shall request that the Court issue a Judicial Order

of Removal to Canada against the defendant pursuant to Section 238(c) of the Immigration

and Nationality Act of 1952, as amended, 8 U.S.C. § 1228(c).


Dated: Brooklyn, New York
       February 9, 2018

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney
                                                   Eastern District of New York

                                            By:    ________________________
                                                   Alexander Solomon
                                                   Peter Baldwin
                                                   Tiana Demas
                                                   Assistant United States Attorneys
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                                  FACTUAL ALLEGATIONS
                                                           IN SUPPORT OF JUDICIAL
        - against –                                        REMOVAL

 FARUQ KHALIL MUHAMMAD ‘ISA,                               11 CR 819 (S-1) (RRM)
   also known as
   “Faruk Khalil Muhammad ‘Isa”
   “Sayfildin Tahir Sharif” and
   “Tahir Sharif Sayfildin”


                         Defendant.

 – – – – – – – – – – – – – – – – – –X


NOTICE IS HEREBY GIVEN TO FARUQ KHALIL MUHAMMAD ‘ISA (“the defendant”)

and to his attorneys of record herein, Samuel Jacobson, Esq., Mildred Whalen, Esq., and

Sabrina Shroff, Esq., that the United States of America alleges the following facts in support

of the Notice of Intent to Request Judicial Removal:

       1.     The defendant is not a citizen or national of the United States.

       2.     The defendant is a native of Iraq and a citizen of Canada.

       3.     The defendant was paroled into the United States at Islip, New York, on or about

              January 23, 2015.

       4.     At the time of sentencing in the instant criminal proceeding, the defendant will

              be convicted in the United States District Court, Eastern District of New York,

              of the offense of Conspiracy to Murder U.S. Nationals, in violation of 18 U.S.C.

              § 2332(b)(2).
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       5.     A maximum term of life imprisonment may be imposed for a violation of this

              offense.

       6.     The defendant is, and at time of sentencing will be, subject to removal from the

              United States pursuant to: Section 212(a)(2)(A)(i)(I) of the Immigration and

              Nationality Act of 1952, (“INA”), as amended, 8 U.S.C. § 1182(a)(2)(A)(i)(I),

              as an alien convicted of, or who admits having committed or who admits

              committing acts which constitute the essential elements of a crime involving

              moral turpitude (other than purely political offense) or an attempt or conspiracy

              to commit such a crime, is inadmissible.

       WHEREFORE, pursuant to section 238(c) of the INA, 8 U.S.C. § 1228(c), the United

States requests that the Court, at the time of sentencing, order that the defendant be removed

from the United States to Canada promptly upon his release from confinement, or, if the

defendant is not sentenced to a term of imprisonment, promptly upon his sentencing.



Dated: Brooklyn, New York
       February 9, 2018


                                                  RICHARD P. DONOGHUE
                                                  United States Attorney
                                                  Eastern District of New York


                                           By:    ________________________
                                                  Alexander Solomon
                                                  Peter Baldwin
                                                  Tiana Demas
                                                  Assistant United States Attorneys
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                                  DEFENDANT’S PLEA
                                                           STATEMENT IN SUPPORT OF
        - against -                                        JUDICIAL REMOVAL

 FARUQ KHALIL MUHAMMAD ‘ISA,                               11 CR 819 (S-1) (RRM)
   also known as
   “Faruk Khalil Muhammad ‘Isa”
   “Sayfildin Tahir Sharif” and
   “Tahir Sharif Sayfildin”

                         Defendant.

 – – – – – – – – – – – – – – – – – –X


              FARUQ KHALIL MUHAMMAD ‘ISA, defendant in the above-captioned

criminal proceeding, hereby states as follows:

       1.     My true and correct name is Faruq Khalil Muhammad ‘Isa.

       2.     I received a Notice of Intent to Request Judicial Removal (“Notice”), dated

              February 9, 2018. I am the person identified in that document. I hereby waive

              my right, pursuant to section 238(c)(2)(A) of the Immigration and Nationality

              Act of 1952, as amended (“INA”), 8 U.S.C. § 1228(c)(2)(A), to have the Notice

              served upon me prior to the commencement of the trial or entry of a guilty plea

              in this case.

       3.     I received the Factual Allegations in Support of Judicial Removal

              (“Allegations”), dated February 9, 2018. I hereby waive my right, pursuant to

              Section 238(c)(2)(B) of the INA, 8 U.S.C. § 1228(c)(2)(B), to have the

              allegations served 30 days prior to sentencing.
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     4.    My rights in a judicial removal proceeding have been fully explained to me by

           my attorneys, Samuel Jacobson, Esq., Mildred Whalen, Esq., and Sabrina

           Shroff, Esq. After consultation with my counsel and understanding the legal

           consequence of doing so, I knowingly and voluntarily waive the right to the

           notice and hearing provided for in Section 238(c)(2) of the INA, 8 U.S.C. §

           1228(c)(2), and further waive any and all rights to appeal, reopen, reconsider,

           or otherwise challenge this order for removal to Canada. I understand the rights

           I would possess in a contested administrative proceeding and I waive these

           rights, including the right to examine the evidence against me, present evidence

           on my own behalf, and cross examine witnesses presented by the United States.

           I understand these rights and waive further explanation by the Court.

     5.    I hereby admit that all of the factual allegations set forth in the Allegations are

           true and correct as written.

     6.    I hereby concede that I am removable from the United States to Canada under:

           Section 212(a)(2)(A)(i)(I) of the INA, 8 U.S.C. § 1182(a)(2)(A)(i)(I), as an alien

           convicted of, or who admits having committed or who admits committing acts

           which constitute the essential elements of a crime involving moral turpitude

           (other than purely political offense) or an attempt or conspiracy to commit such

           a crime.

     7.    I hereby waive any and all rights I may have to any and all forms of relief or

           protection from removal, deportation, or exclusion under the INA, as amended,

           and related federal regulations. These rights include, but are not limited to, the

           ability to apply for the following forms of relief or protection from removal:
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           asylum; withholding of removal under Section 241(b)(3) of the INA, 8 U.S.C.

           § 1231(b)(3); any protection from removal pursuant to Article III of the United

           Nations Convention Against Torture, including withholding or deferral of

           removal under 8 C.F.R. §§ 208.16-17 and 1208.16-17, cancellation of removal;

           adjustment of status; registry; de novo review of a denial or revocation of

           temporary protected status (current or future); waivers under Sections 212(h)

           and 212(i) of the INA, 8 U.S.C. §§ 1182(h), 1182(i); visa petitions; consular

           processing; voluntary departure or any other possible protection or relief from

           removal available under the Constitution, laws or treaty obligations of the

           United States. I waive these rights only with respect to Canada.

     8.    I agree to the entry of a stipulated judicial order of removal to Canada pursuant

           to Section 238(c)(5) of the INA, 8 U.S.C. § 1228(c)(5). I acknowledge that I

           have not been persecuted in Canada, and have no present fear of persecution in

           the Canada, the country of my citizenship. I further acknowledge that I have

           not been tortured in the Canada and have no present fear of torture in Canada,

           the country of my citizenship.

     9.    I consent to the introduction of this statement as an exhibit in the record of these

           judicial removal proceedings. I further agree to make the judicial order of

           removal a public document, waiving my privacy rights, including any privacy

           rights that might exist under 8 C.F.R. § 208.6.

     10.   I agree to assist U.S. Immigration and Customs Enforcement (“ICE”) in the

           execution of my removal to Canada. Specifically, I agree to assist ICE in the

           procurement of any travel, identity, or any other documents necessary for my
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           removal to Canada; to meet with and to cooperate with representatives of

           Canada if ICE so requests; and to execute any forms, applications, or waivers

           needed to execute or expedite my removal. I further understand that my failure

           or refusal to assist ICE in the execution of my removal to Canada may subject

           me to criminal penalties under Section 243 of the INA, 8 U.S.C. § 1253.

     11.   I concede that the entry of this judicial order of removal to Canada renders me

           permanently inadmissible to the United States. I agree that I will not enter,

           attempt to enter, or transit through the United States without first seeking and

           obtaining permission to do so from the Secretary of the Department of

           Homeland Security or other designated representative of the U.S. government.

     12.   I will accept a written order issued by this Court for my removal from the United

           States to Canada, and I waive any and all rights to challenge any provision of

           this agreement in any U.S. or foreign court or tribunal.




________________                        ________________________________
Date                                    Defendant’s Signature


________________                        ________________________________
Date                                    Attorney for the Defendant
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – –X

 UNITED STATES OF AMERICA                                   ORDER OF JUDICIAL
                                                            REMOVAL
        - against –
                                                            11 CR 819 (S-1) (RRM)
 FARUQ KHALIL MUHAMMAD ‘ISA,
   also known as
   “Faruk Khalil Muhammad ‘Isa”
   “Sayfildin Tahir Sharif” and
   “Tahir Sharif Sayfildin”


                          Defendant.

 – – – – – – – – – – – – – – – – – –X


       Upon the application of the United States of America, by Alexander Solomon, Peter

Baldwin, and Tiana Demas, Assistant United States Attorneys, Eastern District of New York;

upon the Factual Allegations in Support of Judicial Removal; upon the consent of Samuel

Jacobson, Esq., Mildred Whalen, Esq., and Sabrina Shroff, Esq., (the “defendant”); and upon

all prior proceedings and submissions in this matter; and full consideration having been given

to the matter set forth herein, the Court finds:

       1.      The defendant is not a citizen or national of the United States.

       2.      The defendant is a native of Iraq and citizen of Canada.

       3.      The defendant was paroled into the United States at Islip, New York, on or about

               January 23, 2015.

       4.      At the time of sentencing in the instant criminal proceeding, the defendant will

               be convicted in the United States District Court, Eastern District of New York,
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           of the offense of Conspiracy to Murder U.S. Nationals, in violation of 18 U.S.C.

           § 2332(b)(2).

     5.    A maximum sentence of life imprisonment may be imposed for a violation of

           this offense.

     6.    The defendant is, and at time of sentencing will be, subject to removal from the

           United States pursuant to: Section 212(a)(2)(A)(i)(I) of the Immigration and

           Nationality Act of 1952, as amended (“INA”), 8 U.S.C. § 1182(a)(2)(A)(i)(I),

           as an alien convicted of, or who admits having committed or who admits

           committing acts which constitute the essential elements of a crime involving

           moral turpitude (other than purely political offense) or an attempt or conspiracy

           to commit such a crime, is inadmissible.

     7.    The defendant has waived his right to notice and a hearing under Section 238(c)

           of the INA, 8 U.S.C. § 1228(c) for removal to Canada.

     8.    The defendant has waived the opportunity to pursue any and all forms of relief

           and protection from removal to Canada.

     9.    The defendant has designated Canada the country for removal pursuant to

           Section 240(d) of the INA, 8 U.S.C. § 1229a(d).
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              WHEREFORE, IT IS HEREBY ORDERED, pursuant to Section 238(c) of the

INA, 8 U.S.C. § 1228(c), that the defendant shall be removed from the United States promptly

upon his release from confinement, or, if the defendant is not sentenced to a term of

imprisonment, promptly upon his sentencing, and that the defendant be ordered removed to

Canada.



Dated: Brooklyn, New York
       _________________, 2018



                                             _____________________________________
                                             HONORABLE ROSLYNN R. MAUSKOPF
                                             UNITED STATES DISTRICT JUDGE
